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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                     CYBER TECHNOLOGIES LIMITED’S
                                                 ADMINISTRATIVE MOTION TO FILE
14         v.                                    UNDER SEAL
15   NSO GROUP TECHNOLOGIES LIMITED              Judge: Hon. Phyllis J. Hamilton
     and Q CYBER TECHNOLOGIES LIMITED,
16                                               Action Filed: 10/29/2019
                 Defendants.
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       DEFENDANTS’ ADMINISTRATIVE                                     Case No. 4:19-cv-07123-PJH
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 1          Pursuant to Civil Local Rules 7-11 and 79-5(d), Defendants NSO Group Technologies

 2 Limited and Q Cyber Technologies Limited (collectively, the “Defendants”), by and through their

 3 undersigned counsel, hereby submit this Administrative Motion to File Under Seal (the “Motion”)

 4 (1) certain language in the Declaration of Aaron Craig filed concurrently with this Motion; (2)

 5 certain language on pages 2-8, 10-13, and 15-25 in Defendants’ Motion to Dismiss or for Summary

 6 Judgment for Lack of Personal Jurisdiction and for Partial Summary Judgment (the “Summary

 7 Judgment Motion”), attached as Exhibit 1 to the Craig Declaration; (3) certain language in

 8 paragraphs 10, 12-15, 19-21 to the Declaration of Yaron Shohat in Support of the Summary
 9 Judgment Motion (the “Shohat Declaration”) and Exhibits A-E to the Shohat Declaration,

10 collectively attached as Exhibit 2 to the Craig Declaration; (4) the Declaration of Terrence

11 McGraw in Support of the Summary Judgment Motion (the “McGraw Declaration”) and Exhibit

12 F to the McGraw Declaration, collectively attached as Exhibit 3 to the Craig Declaration; and (5)

13 certain language in paragraphs 9-11 and 13-18 to the Declaration of Joseph A. Akrotirianakis in

14 Support of the Summary Judgment Motion (the “Akro. Declaration”) and Exhibits G-W to the

15 Akro. Declaration, collectively attached as Exhibit 4 to the Craig Declaration (collectively

16 referenced as the “Sealed Documents”). The Sealed Documents are submitted to the Court in

17 connection with Defendants’ Summary Judgment Motion.

18          The Motion is based upon the points and authorities set forth herein, as well as those facts

19 attested to in the accompanying Craig Declaration.

20 I.       BACKGROUND

21          The Complaint was filed October 29, 2019. (Dkt. No. 1.) Defendants were served on

22 March 12, 2020, and on April 2, 2020, Defendants moved to dismiss the complaint. (Dkt. No. 45.)

23 Plaintiffs served a First Set of RFPs on June 4, 2020. (Craig. Decl. ¶ 2.) This Court stayed

24 discovery shortly after Plaintiffs served their First Set of RFPs. (Id.) After the stay ended, the

25 Court held a status conference at which it instructed the parties to meet and confer over the effect

26 of Israeli law on Plaintiffs’ RFPs and if the parties cannot resolve the issue, for Defendants to file

27 a motion for protective order. (Id.) The parties met and conferred but could not reach a resolution,

28 forcing Defendants to file a motion for protective order on March 30, 2023. (Id.) On November
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 1   15, 2023, the Court denied NSO’s motion for protective order. (Dkt. No. 233.) The parties have

 2 since conducted substantial discovery, which has involved the exchange of highly confidential

 3 information and materials, and are now filing dispositive motions. (Craig Decl. ¶ 2.)

 4          For information about additional matters relevant to this Motion, the Court is respectfully

 5   referred to paragraphs 3 through 10 of the accompanying Craig Declaration.

 6   II.    LEGAL STANDARDS

 7          Although courts recognize a general right to inspect and copy public records, “access to

 8   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

 9   (9th Cir. 2006). The showing necessary to seal materials depends on how closely related those

10   materials are to the merits of the case. A party seeking to seal materials submitted with a motion

11   that is “more than tangentially related to the merits of the case” must demonstrate that there are

12   compelling reasons to keep the documents under seal. Ctr. for Auto Safety v. Chrysler Grp., LLC,

13   809 F.3d 1092, 1101–02 (9th Cir. 2016). Courts apply the compelling reasons standard to sealing

14   requests related to a motion for summary judgment. Fed. Deposit Ins. Corp. v. Bayone Real Estate

15   Inv. Corp., 2017 WL 1398311, at *2 (N.D. Cal. Apr. 19, 2017). It is in the “sound discretion of

16   the trial court” to determine what constitutes a “compelling reason” for sealing a court document.

17   In re Da Vinci Surgical Robot Antitrust Litig., No. 21-CV-03825-AMO, 2024 WL 1687645, at *1

18   (N.D. Cal. Apr. 17, 2024) (citing Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096

19   (9th Cir. 2016)). “Compelling reasons justifying sealing court records generally exist when such

20   “court files might . . . become a vehicle for improper purposes” such as “releas[ing] trade secrets

21   [] or as sources of business information that might harm a litigant's competitive standing.” Id.; see

22 also Grace v. Apple, Inc., No. 17-CV-00551-LHK, 2019 WL 12288173, at *3 (N.D. Cal. Aug. 22,

23 2019) (“Competitive harm and security concerns can qualify as compelling reasons.”). The

24   “compelling reasons” standard is met here.

25   III.   LEGAL ARGUMENT

26          This Motion is supported by compelling reasons based on the facts attested to in the Craig

27   Declaration.   The Sealed Documents contain highly sensitive, non-public information, the

28   disclosure of which would prejudice Defendants and other parties not before the Court. See, e.g.,
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 1   Compal Elecs., Inc. v. Apple Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari v.

 2   Ras Al Khaimah Free Trade Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017);

 3   Strauss v. Credit Lyonnais, S.A., 2011 WL 4736359, at *5 (E.D.N.Y. Oct. 6, 2011). Therefore,

 4   Defendants now seek leave of this Court to file the Sealed Documents under seal. Certain of the

 5 Sealed Documents have also been designated as Highly Confidential-Attorney’s Eyes Only by the

 6 parties’ because they include information about the parties’ confidential technology and other trade

 7 secrets. Courts have routinely held that such confidential business information satisfies the

 8 “compelling reasons” standard. See In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal.

 9 Nov. 8, 2017) (concluding that the parties established compelling reasons to file under seal records

10 that implicate “confidential business information” subject to confidentiality agreements); Jones v.

11 PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18, 2023).

12          Notably, this Court already granted, in its Orders dated September 14, 2023, November 15,

13 2023, August 1, 2024, and August 27, 2024, previous administrative motions to seal filed by the

14 parties seeking similar relief as this Motion. (Dkt. Nos. 217, 233, 358, 370.) The confidential

15 portions of the Sealed Documents contain references to materials with respect to which this Court

16 has granted these previous motions to seal. (Id.)

17          Compelling reason exists to seal each of the Sealed Documents, and Defendants

18 respectfully request that the Court grant this Motion and order the Sealed Documents be kept under

19 seal. For a full description of that good cause, the Court is respectfully referred to paragraph 12

20 of the accompanying Craig Declaration. Defendants have closely analyzed each of the documents

21 being filed, and for each, Defendants are asking the Court to file under seal only the bare minimum

22 amount necessary.

23 IV.      CONCLUSION

24          For the reasons set forth above and in the accompanying Craig Declaration, Defendants

25 respectfully request that the Court grant this Motion and order the Sealed Documents to be kept

26 under seal.

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 1   DATED: September 27, 2024                  KING & SPALDING LLP
 2                                              By: /s/Aaron S. Craig
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                                                    TECHNOLOGIES LIMITED and Q
 5                                                  CYBER TECHNOLOGIES LIMITED
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       DEFENDANTS’ ADMINISTRATIVE               4                      Case No. 4:19-cv-07123-PJH
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